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UN|TED STATES D|STR|CT COURT
WESTERN D|STRlCT OF TENNESSEE
NlENlPH|S DlV|SlON

UN|TED STATES OF AMER|CA
-v» 2:03CR20051-01-M|

DAV|D WlLLlAMS
Michael J. Stengell CJA
Defense Attorney
50 N. Front St., #850
Memphis, TN 38103

 

*A-M-E-N-D-E-D JUDGMENT lN A CRlMlNAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 2 of the indictment on lVlay1, 2003. Accordingly, the
court has adjudicated that the defendant is guilty of the following offense(s):

Date Count
Title & section MM offense M§j
Concluded
18 U.S.C. § 1028 (a) (3) Fraud VVith identification Documents 02/03/1999 2

The defendant is sentenced as provided in the following pages of this judgmentl The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the l\/landatory
Victims Restitution Act of 1996.

Count(s) 1 & 3 are dismissed on the motion of the United States.

|T lS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 06/20/ 1962 November 6, 2003
Dsft’s U.S. Nlarshal No.: 18877-076

Defendant’s lV|ailing Address:
310 N. Dun|ap Apt. 4

Memphis,TN 33105 /QF'O gmc R‘QQ\

_ ON PH|PF’S lVlcCALLA
NlTED ATES DlSTR|CT JUDGE

 

May 630 , 2005

 

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Case No: 2103CR20051-01 Defendant Name: David W|i_L|ANlS Page 2 of 5
lMPR|SONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of *TlME SERVED.

The defendant shall surrender for service of sentence at the institution designated by the
Bureau of Prisons as notified by the United States lVlarshal.

RETU RN

| have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment
UN|TED STATES MARSHAL
By:

 

Deputy U.S. i\/|arshai

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Case No: 2:03CR20051-01 Defendant Name: David W|LL|AIV|S Page 3 of 5

SUPERV|SED RELEASE

Upon release from imprisonment the defendant shall be on supervised release for
a term of 1 ¥ear.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

Whiie on supervised reiease, the defendant shall not commit another federai, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave thejudiciai district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful ali inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a iawfui occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are ii|egaiiy so|d, used,
distributed, or administered', The defendant shall not associate with any persons engaged in criminal
activity, and shall not associate with any person convicted of a felony unless granted permission to do
so by the probation officer;

B. The defendant shall permit a probation officer to visit him or her at any time at horne or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation ocher;

9. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

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Case No: 2:030R20051-01 Defendant Name: David WiLLiAlViS Page 4 of 5

10. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

11. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant's criminal record or personal history or characteristics and shall permit
the probation officer to make such notifications and to confirm the defendant's compliance with such
notification requirement

12. if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Scheduie of Payments set
forth in the Crimina| IVlonetary Penaities sheet of this judgment

ADDITIONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1. *The defendant shall cooperate with DNA collection as directed by the Probation Office.

2. *The defendant shall participate in the Home Detention program for a period of 6 Months.
Durinq this time, defendant will remain at defendants place of residence except for
employment medical treatment and other activities approved in advance by the defendant’s
Probation Officer. Defendant will be subiect to the standard conditions of Home Detention
adopted for use in the Western District of Tennessee. which may include the requirement
to wear an electronic monitoring device and to follow electronic monitoring procedures
specified by the Probation Officer. Further, the defendant shall be required to contribute to
the costs of services for such monitoring not to exceed an amount determined reasonable
by the Probation Officer based on ability to pay (or availability of third party payment) and in
conformance with the Probation Office’s Siidinq Sca|e for Electronic l\rlonitorino Services.

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CR|M|NAL MONETARY PENALT|ES
The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Scheduie of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §

3612(f). Ail of the payment options in the Scheduie of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Restitution
$100.00

The Specia| Assessment shall be due immediateiy.
F|NE

No fine imposed

REST|TUT|ON

No Restitution was ordered.

   

UNITED S`…ATEISTIC COURT - WTERN DSTRICT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 59 in
case 2:03-CR-20051 Was distributed by faX, mail, or direct printing on
May 23, 2005 to the parties listed.

 

 

Michael J. Stengel
STENGEL LAW FIRM
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Ste. 850

i\/lemphis7 TN 38103--111

Joseph C. Murphy

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

